                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 S.B., a minor student, by and through his parents,         )
 M.B. and L.H., et al.,                                     )
                                                            )
        Plaintiffs,                                         )
                                                            )
 v.                                                         )    No. 3:21-cv-00317-JRG-DCP
                                                            )
 GOVERNOR BILL LEE, in his official                         )
 capacity as GOVERNOR OF TENNESSEE, and                     )
 KNOX COUNTY BOARD OF EDUCATION,                            )
                                                            )
        Defendants.                                         )


                                    NOTICE OF APPEAL


        Defendant Bill Lee, in his official capacity as Governor of the State of Tennessee, hereby

 gives notice of his appeal to the United States Court of Appeals for the Sixth Circuit from the

 district court’s September 24, 2021 Memorandum and Order granting a preliminary injunction

 enjoining him from enforcing Executive Order No. 84 in Knox County, Tennessee, or allowing

 parents in Knox County to opt out of the Knox County Board of Education’s mask mandate,

 including the legal conclusions and factual findings on which the Memorandum and Order is

 based. (See ECF No. 35.)




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                                                Respectfully submitted,

                                                HERBERT H. SLATERY III
                                                Attorney General and Reporter

                                                /s/ Reed Smith        _________________
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this the 27th day of September, 2021, a copy of the foregoing was
 filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing report. Parties may access this filing through
 the Court’s electronic filing system.


                                                 /s/ Reed N. Smith
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